           Case 1:13-cv-01070-LY Document 72 Filed 03/10/15 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                                             2OI5p4R 10 PH                       L1:3Q
                                    AUSTIN DIVISION

TEXAS MUTUAL INSURANCE,                           §
               PLAINTIFF,                         §
                                                  §
V.                                                §   CIVIL NO. A-13-CA-1070-LY
                                                  §
INTEGRATED CLAIMS SYSTEMS, LLC,                   §
               DEFENDANT.                         §


                                      FINAL JUDGMENT

       Before the court is the above styled and numbered action. On this date by separate order, the

court dismissed with prejudice all claims and counterclaims asserted in this action between Plaintiff

Texas Mutual Insurance Company and Defendant Integrated Claims Systems, LLC, and ordered that

all costs, expenses, and attorney's fees are borne by the party that incurred them. As no disputes

remain between the parties for resolution, the court renders this final judgment pursuant to Federal

Rule of Civil Procedure 58.

       IT IS FINALLY ORDERED that this action is hereby CLOSED.

       SIGNED this                   day of March, 2015.




                                              LEA        /      J     (
                                              UITED STATE DISTRI(T JUDGE
